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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

DEXTER D. STEWART,                        )
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )      Case No. 21-cv-318-NJR
                                          )
CASEYVILLE POLICE DEPT.,                  )
and JAMES GOMRIC,                         )
                                          )
                   Defendants.            )

                        JUDGMENT IN A CIVIL CASE

      This action came before the Court, Chief Judge Nancy J. Rosenstengel, and the

following decision was reached:

      IT IS ORDERED that Plaintiff shall recover nothing, and the action be

DISMISSED on the merits with prejudice, the parties to bear their own costs.

      DATED: May 12, 2021

                                              MARGARET M. ROBERTIE
                                              Clerk of Court


                                              By: s/ Tanya Kelley
                                                     Deputy Clerk


APPROVED: s/ Nancy J. Rosenstengel
             NANCY J. ROSENSTENGEL
             Chief U.S. District Judge
